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                                1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                                2   THE CENTRAL DISTRICT OF CALIFORNIA:
                                3         PLEASE TAKE NOTICE that Defendant Firstsource Advantage, LLC
                                4   (“Defendant”) hereby removes the action described below from the Superior Court of
                                5   California for the County of Los Angeles, to the United States District Court for the
                                6   Central District of California, Western Division, pursuant to Sections 1331, 1441(c),
                                7   and 1446 of Title 28 of the United States Code (“U.S.C.”). As set forth more fully
                                8   below, this case is properly removed to this Court pursuant to 28 U.S.C. § 1441
                                9   because Defendant has satisfied the procedural requirements for removal and this
                            10      Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331. In
                            11      support of this Notice of Removal, Defendant states as follows:
633 West Fifth Street, Suite 2800




                            12      I.    THIS COURT HAS SUBJECT MATTER JURISDICTION PURSUANT
    Los Angeles, CA 90071
    YU | MOHANDESI LLP




                            13            TO 28 U.S.C. SECTIONS 1331 AND 1441
                            14            On or about November 8, 2013, plaintiff Erika Herman (“Plaintiff”) filed a
                            15      Complaint in the Superior Court of California for the County of Los Angeles
                            16      (“Superior Court”), entitled Erika Herman v. Firstsource Advantage, LLC, et al. Case
                            17      No. 13K15977. In the Complaint, Plaintiff alleges that Defendant violated the Fair
                            18      Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., and the
                            19      Rosenthal Fair Debt Collection Practices Act (“RFDCPA”), Cal. Civ. Code §1788, et
                            20      seq., by – among other things – allegedly engaging in harassing and oppressive
                            21      conduct in connection with the collection of Plaintiff’s debt, communicating
                            22      unlawfully with third parties regarding Plaintiff’s debt, and causing a telephone to ring
                            23      repeatedly and continuously to annoy Plaintiff in its efforts to collect on Plaintiff’s
                            24      debt. See Complaint, pp. 1, 3-4. The Complaint and Summons are attached hereto as
                            25      Exhibit A, as required by 28 U.S.C. § 1446(a).
                            26            Because this action arises under federal law (the FDCPA), which can be
                            27      ascertained from the face of Plaintiff’s Complaint, this Court has original jurisdiction
                            28      pursuant to 28 U.S.C. § 1331. Furthermore, this Court has supplemental jurisdiction
                                                                               –2–
                                                        FIRSTSOURCE ADVANTAGE, LLC’S NOTICE OF REMOVAL
                                Case 2:13-cv-09496-JFW-FFM Document 1 Filed 12/27/13 Page 3 of 12 Page ID #:34



                                1   over Plaintiff’s state law claim (the RFDCPA), which arise out of the “same case or
                                2   controversy” pursuant to 28 U.S.C. § 1367(a). Accordingly, this action may be
                                3   removed to this Court pursuant to 28 U.S.C. § 1441.
                                4   II.   THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE
                                5         SATISFIED
                                6         On or about November 8, 2013, Plaintiff filed this action in the Superior Court
                                7   of California for the County of Los Angeles. Defendant was served with the
                                8   Complaint on November 27, 2013. This Notice of Removal is timely in that it was
                                9   filed within 30 days from the time Defendant had notice that the action was
                            10      removable, and less than a year after the commencement of the action. See 28 U.S.C.
                            11      § 1446(b).
633 West Fifth Street, Suite 2800




                            12            The Superior Court of California for the County of Los Angeles is located
    Los Angeles, CA 90071
    YU | MOHANDESI LLP




                            13      within the United States District Court for the Central District of California, Western
                            14      Division. See 28 U.S.C. § 84(c)(2). Thus, venue is proper in this Court because it is
                            15      the “district and division embracing the place where such action is pending.” 28
                            16      U.S.C. § 1441(a).
                            17            In compliance with 28 U.S.C. § 1446(d), Defendant will serve on Plaintiff and
                            18      file with the Clerk of the Superior Court a written notice of the filing of this Notice of
                            19      Removal, attaching a copy of this Notice of Removal.
                            20            No previous application has been made for the relief requested herein.
                            21      ///
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                                                        FIRSTSOURCE ADVANTAGE, LLC’S NOTICE OF REMOVAL
                                Case 2:13-cv-09496-JFW-FFM Document 1 Filed 12/27/13 Page 4 of 12 Page ID #:35



                                1         WHEREFORE, Defendant respectfully removes this action from the Superior
                                2   Court of California for the County of Los Angeles to this Court pursuant to 28 U.S.C.
                                3   §§ 1331, 1441 and 1446.
                                4         DATED: December 27, 2013.
                                5
                                                                          YU | MOHANDESI LLP
                                6

                                7
                                                                          By      /s/ Jordan S. Yu
                                8                                              Jordan S. Yu
                                                                               B. Ben Mohandesi
                                9                                              Attorneys for Defendant
                                                                               Firstsource Advantage, LLC
                            10

                            11
633 West Fifth Street, Suite 2800




                            12
    Los Angeles, CA 90071
    YU | MOHANDESI LLP




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                                                       FIRSTSOURCE ADVANTAGE, LLC’S NOTICE OF REMOVAL
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               EXHIBIT A
Case 2:13-cv-09496-JFW-FFM Document 1 Filed 12/27/13 Page 6 of 12 Page ID #:37



                                                                                                                                                       SUM-100
                                            SUMMONS                                                                     ; FOR COUP         ___ `.
                                                                                                                      (Soto PA USO OEft.A. CCI
                                                                                                                                           CUFFRTE)rt) '
                                       (CITACION JUDICIAL)                                                                                 •


 NOTICE TO DEFENDANT:                                                                                                                          •
 (AVISO AL DEMANDADO):
  FIRST SOURCE ADVANTAGE, LLC. and DOES 1 through 10                                                                    NOV CC 20i3
  inclustve.                                                                                                                                       GON
                                                                                                           John A. Cletr409...ficer/Clerk.
 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                CPS°
  ERIKA HERMAN. an individual.


   NOTICE! You have been sued. The court may decide against you Without your being heard unless you respond within 30 days. Read the information
   below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
   served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
   case There may be a court form that you can use for your response. You can find these awn forms and more information at the California Courts
  Online Self-Help Center (www;couninfaca.goviselfhelp). your county law library, or the courthouse nearest you. If you cannot pay the Sting fee, ask
  the court cterk fora tee waiver form. If you dti not file Your response enlime, yoU may lose Me case by default. antTyour Wages. Money. and property
  may be taken without frifther warning from the court.
      There are other legal requirements You may want to call an attorney right away. If you de not know an attorney, you may want to Call an attorney
  referral service If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program You can locate •
  these nonprofit groups at the California Legal Services Web site (wanialawhelpeetifornia.erg), the California Courts Online Self-Help Center
  (www.tourttnia.ca.gOviteltheip). or by contacting your local court or county bar association. NOTE: The court has a statutory lien (or waived fees arid
  costs on any settlement or arbitration award of S10.000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  tAVISOI Le hen demandado. Si no responde dentro de 30 dies, la cotta puede decidir en So contra sin °souther su versien Lea fa information a
  continuatiOn.
     Tiene 30 CMS OE CALENDAPIO desPueS IC quo Ic entreguen este citation y papeies legates pare presenter una tespuesta per °scrota en esta
  cone y hater que se entregue one coons el demenctanto, Una oarto a one Pomade Wet:m)ca no leprotegen, So rospuesta par &sonic Irene que ester
  en fermate legal =recto si desire que procesen cos° en la cone.. Esposible que haya cit formulario qua cored puede user pare so respuesta.
  Puede encentrar estos formulanas de la cede y mas informecien ea er Centro de Ayuda.cte las. Codes de California (www.sueorte.Ca.gov). en IS
  bib/it:deco de leyes do sir oondado o en Ca carte que le puede mas tette, Si no puede pager tar cuota IC presentation, pile at socretarro de ta one
  que to de un fOrMulano de exenctem de pago de circles. Si no presenle Cu respuoSta a nervy: p1/ode perder c/ case por incumplimiento y ia coneIa
  polite puffer so suelde dinera y bienes sin más advertencia,
    Hay elms requisites legates. Es recomendable que liame a un abegado inmediatarnente. Si rto COVIOCO a an atrogado, puede hamar a on senncio de
  remision a ebogadds. St ritt puede pager a un auogador es posible que cumpla COn los requistrqs pare °Menet servicies legates gratukos de an
  programa de servicios legates sin fines de lucre Puede encontrer estos gtupos sin fines de lucro en el 51110 web de California Legal Services,
  (www.lawbelpealifornia.org), en el Centre de Arida de las Cortes de California (www sticorle.ca.gov) o poniendese en tontaero con la carte a er
  colegio de abogados locales. AVISO - Por ley. fa cone Kerte derecho a reclamar las cuotas y los costes even los per importer un gravamen sobre
  cualquier rectiperacten de $i mow ci Inas de valor recibida mediante on acuerdo a one concesiOn de arbitrale en on caw cle.derecho civil. "Rene qua
  oagar at gravamen de la torte antes de que ía torte pueda ciesecher el case.

 The name and address of the court is;
 (El nombro y &Temkin clots tone es): Stanley Mosk Courthouse
  111 North Hill Street
  Los Angeles, CA 90012
 The name, address, and telephone number of plaintiffs attorney: on plaintiff without an attorney. is:
  El nornitfE la clirecCiarr v Cl neltnaro de teleforto del abooado Il cjemandante_o del demanclante lave no hem) abDoact‘L es.r
  Paul Iviankin. Es           87.30. Wilshire Blvd. Suite 310. Beverlv Hills, CA 90211. (800 219-3577

 DATE Octoh                 4!                                                  Clerk. by                                                              . Deputy
                                                                                                     CANDICE S. CALAGNA
 (Fechaj tkON j itlal                   La(Secretario)
                                        _I  _!1„.:
                                           plaL                                                              ,                                          (Adjunto)
(For proof of service of tins Stimill,W        ..               i34jmmons (form POS 010))
(Para ',wade de anti-ego de esti) citattOn use eTioThilitarto Proof,of Service of Summons. (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
  ISL A
                                        1. 1    I as an individual defendant,
                                        2 I     I as the person sued under the fictitious name of (specify)


                                         3 17.2c
                                              -71 on behalf of (specify). First Source Advantage, LLC
                                            under: I   I CCP 416.to (corporation)                I    CCP 416.60 (minor)
                                                   fl CCP 416.20 (defunct corporation)                I          I CCP 416.70 (conservatee)
                                                       - .- 1 CCP 416.40 (association or partnership) I
                                                   1-5.4                                                         I CCP 416 SO (authorized person)
                                                   F-71 other (specify):
                                         4. I— I by personal delivery on (date)
                                                                                                                                                          Page I 01%

 5,0rIn AtZ0t00 lot Nfir,Iaeirry :AO                                    SUMMONS                                                 Conn of Cinn Pf000fcrn4e §541? 70, 465
    ,A1C,010 Cots rc..$ of Canfonun                                                                                                              44nr1 =calf() Ca oat
   SUM-100 IFtieV July 1. 20091
Case 2:13-cv-09496-JFW-FFM Document 1 Filed 12/27/13 Page 7 of 12 Page ID #:38



                                                                                                    ii.)441. • • _
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                                                                                                   •-• r ":.• I    )
                                                                                                         .•I      5thk


         Paul Mankin- State Bar No. 264038
     2   The Law Office of L. Paul Mankin IV                                         John A. oar
         8730 Wilshire Blvd.. Suite 310                                                                           Cer/Cierk
         Beverly Hills. CA 90211                                                   C AIN113
         Phone: (800)-219-3577
         Facsimile: (323) 207-3885

         Attorney for Plaintiff
                             SUPERIOR COURT OF TI IF STATE OF CALIFORNIA

                                            FOR LOS ANGELES COUNTY

                                             LIMITED JURISDICTION
                                                                                        1 3K 15 97
 10
         ERIKA HERMAN. an individual.                       Case No.:
                   Plaintiff'.
                                                            COM PLAINT
 12              VS.                                        Amount not to exceed $10.000

 13      FIRST SOURCE ADVANTAGE. LLC and                        1. Violation of the Federal Fair Debt
         DOES I through 10 inclusive.                              Collection Practices Act:
 14                                                             2. Violation of the Rosenthal Fair Debt
                                                                   Collection Practices Act;
 1                       Defendants.

 16

 17




20                                              INTRODUCTION

2
              . This is an action for damages brought by an individual consumer lbr Defendant's
 22
         violations or the Fair Debt Collection Practices Act. 15 U.S.C. §1692, et seq.. ("hereinafter
23
         "FDCPA"). the Rosenthal Fair Debt Collection Practices Act. Cal. Civ. Code §1788. ci seq.
24

         (-hereinafter "RFOCPA -). both of which prohibit debt collectors from engaging in abusive,

26       deceptive, and unfair practices.
21




                                                   COM PLA INT -
Case 2:13-cv-09496-JFW-FFM Document 1 Filed 12/27/13 Page 8 of 12 Page ID #:39




                                                   PARTIES

          1. Plaint ifIERIKA IIERMAN ("Plaintiln. a natural person who at all times herein
  4    mentioned was a resident of the City of'1,os Angeles. in I,os Angeles County. and State of

       CalilOrnia and is a "consumer- as defined by the FDCPA. 15 U.S.C. §I 692a(3) and a "debtor- as

      defined by Cal. Civ. Code §1788.2(h). Plaintiff at all relevant times with respect to this

      complaint was a resident or Los Angeles County Califmnia.

          3.   Al all relevant times herein. Defimdant, FIRST SOURCE ADVANTAGE. LLC

      (hereinafter "FSA-). was a company engaged. by use of mails and telephone. in the business of

      collecting a debt from Plaintiff which qualifies as a "debt.- as defined by 15 U.S.C. *1692(a)(5)

      and a "consumer debt- as defined by Cal. Civ. Code §178X.2(f). Defendant regularly attempts to

      collect debts alleged to be due another. and therefore is a "debt collector" as defined by the

      FDCPA. 15 U.S.C. §1692(a)(6). and RFDCPA. Cal. Civ. Code §I 788.2(c).

          4. Plaintiff does not know the true names and capacities, whether corporate. partnership.

      associate. individual or otherwise. of Defendants sued herein as Does 1 through 10. inclusive.

      and therefbre names said Defendants under provisions of Section 474 n//he Co/On-nia ( 'ode of

      Civil Procedure.

          5. Plaintiff is informed and believes, and on that basis alleges that Defendants Does I

      through 10 arc in some manner responsible fOr acts, occurrences and transactions set tbrth herein

      and are legally liable to Plaintiff

                                            FACTUAL ALLECATIONS

         6. At various and multiple times prior to the filing of the instant complaint. including within

      the one year preceding the filing of this complaint. Defendant contacted Plaintiff in an attempt to

      collect an alleged outstanding debt.



                                                COMPLAINT - 2
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         7.    This financial obligation was primarily for personal. family or household purposes and

     are therefore "debt(s)" as that term is defined bv 15 U.S.C. § 169/a(5).

         8.    Defendant ESA has placed calls to Plaintiff on a daily basis at her cellular phone number

     regarding the collection ofa debt alleged to be owed by Plaintill:

         9.    Plaint iffhas received multiple telephone calls each day from Defendant in connection

     with the collection of the alleged debt.

         10. On inl'ormation and belief. on average. Plaintiff received two or more calls per day from

     Defendant .

         11. On information and belief; on average. Plaintiff received fifteen or more calls per week

     from Defendant calling from phone number (877) 295-8075.

         1/. Defendant ESA continued to call in spite of Plaintiff's repeated requests that they cease

     their collection attempts.

         13. Defendant ESA contacted Plaintiff's mother and disclosed information regarding the

     alleged debt to these third parties.

         14. Defendant's conduct violated the FDCPA. and the REDCPA. in multiple ways. including

     but not limited to:

              a)   Engaging in conduct the natural consequence of which is to harass, oppress. or abuse
                   Plaintiff ( § I 692d):

              b) Causing a telephone to ring or engaging any person in telephone conversation
                 repeatedly or continuously with intent to annoy. abuse. or harass any person at the
                 called number (§1692d(5)):

              c)   Communicating. in connection with the collection orally debt, with any person other
                   than the consumer, his attorney. a consumer reporting agency if' otherwise permitted
                   by law, the creditor, the attorney of the creditor, or the attorney attic debt collector
                   ( § I 692b(c)):




                                                  COMM AIN I - 3
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               d)   Communicating. by telephone or in person. with plaintiff with such frequency as to
                    be unreasonable and to constitute a harassment to Plaintiff under the circumstances
                    (Cal. ('iv. Code §1788.11(c)):


   4           e)   Causinu a telephone to ring repeatedly or continuously to annoy Plaintiff (Cal. ('iv.
                    Code §1788.1 1(d)).



           15. As a result of     above violations oldie 1:DCPA. RI:DCPA. Plaintillsuffered and

       continues to suffer injury to Plaintiff's feelings, personal humiliation, embarrassment, mental

       anguish and emotional distress. and Defendant is liable to Plaintiff for Plaintiff's actual damages.

       statutory damages. and costs and attorney's Ices.

                                    COUNT I: VIOLATION OF THE FAIR
                                   DEBT COLLECTION PRACTICES ACT
  17



           16. Plaintiff- reincorporates by reference all of the preceding paragraphs.
 11


           17. To the extent that Defendant's actions, counted above, violated the MCPA, those actions

       were done knowingly and willingly.



                                            PRAYER FOR RELIEF


              WHERFFORE. Plaintiff respectfitlly prays that judument be entered against Defendant

       for the following:


                    A. Actual damages:
                    R. Statutory damages:
                    C'. Costs and reasonable attorney's lees: and
                    D. For such other and further relief as may he just and proper.



                            COUNT II: VIOLATION OF THE ROSENTHAL FAIR
                                   DEBT COLLECTION PRACTICES ACT




                                                  COMPLAINT -4
Case 2:13-cv-09496-JFW-FFM Document 1 Filed 12/27/13 Page 11 of 12 Page ID #:42




             18. Plaintifireincorporates by reference all of the prccedinu paragraphs.

             19. To the extent that Defendant's actions, counted above. violated the RUDCPA, those

                actions were done knowingly and willingly.


                                              PRAYER FOR RELIEF


                 WI IFREFORE. Plaintiff respectliffly prays that judgment be entered against Defendant

         for the following:


                    A.   Actual damages:
                    B.   Statutory damages:
                    C.   Costs and reasonable attorney's fees: and
                    D.   For such other and further relief as may be just and proper.
 13


                              PLAINTIFF HEREBY REQUESTS AJURY TRIAL



                Date: October 29. 2013

                                                                           Paul Mankin. Esq.
                                                                           Attorney for Plaintiff


 2;"-!


 21


 2. a

 23


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                                                   COMPLAINT - 5
                             Case 2:13-cv-09496-JFW-FFM Document 1 Filed 12/27/13 Page 12 of 12 Page ID #:43



                                1                                    PROOF OF SERVICE
                                           I am a resident of the State of California, over the age of eighteen years, and not
                                2
                                    a party to the within action. My business address is Yu | Mohandesi LLP, 633 West
                                3   Fifth Street, Suite 2800, Los Angeles, CA 90071. On December 27, 2013, I served
                                    the following document(s) by the method indicated below:
                                4

                                5          DEFENDANT FIRSTSOURCE ADVANTAGE, LLC’S NOTICE OF
                                           REMOVAL PURSUANT TO 28 U.S.C. §§ 1331, 1441(c), AND 1446
                                6

                                7
                                          by transmitting via facsimile on this date the document(s) listed above to
                                8         the fax number(s) set forth below. The transmission was completed before
                                          5:00 p.m. and was reported complete and without error. Service by fax was
                                9         ordered by the Court. The transmitting fax machine complies with
                                          Cal.R.Ct 2003(3).
                            10
                                     X    by placing the document(s) listed above in a sealed envelope with postage
                            11            thereon fully prepaid, in the United States mail at Los Angeles, California
                                          addressed as set forth below. I am readily familiar with the firm’s practice
633 West Fifth Street, Suite 2800




                            12            of collection and processing of correspondence for mailing. Under that
                                          practice, it would be deposited with the U.S. Postal Service on that same
    Los Angeles, CA 90071
    YU | MOHANDESI LLP




                            13            day with postage thereon fully prepaid in the ordinary course of business.
                                          by placing the document(s) listed above in a sealed envelope(s) and by
                            14            causing personal delivery of the envelope(s) to the person(s) at the
                                          address(es) set forth below.
                            15            by having the document(s) listed above hand-delivered to the person(s) at
                                          the address(es) set forth below.
                            16
                                          by placing the document(s) listed above in a sealed envelope(s) and
                            17            consigning it to an express mail service for guaranteed delivery on the next
                                          business to the address(es) set forth below.
                            18            by emailing the document(s) listed above to the person(s) at the address(es)
                                          set forth below.
                            19
                                    Paul Mankin
                            20
                                    The Law Office of L. Paul Mankin IV
                            21      8730 Wilshire Blvd., Suite 310
                                    Beverly Hills, CA 90211
                            22
                                    Attorney for Plaintiff
                            23

                            24
                                           I declare under penalty of perjury under the laws of California and the United
                                    States that the above is true and correct. Executed on December 27, 2013, at Los
                            25      Angeles, California.
                            26
                                                                            ___________________________________
                                                                                     /s/ Jordan S. Yu
                            27                                                         Jordan S. Yu
                            28

                                                       FIRSTSOURCE ADVANTAGE, LLC’S NOTICE OF REMOVAL
